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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

GABRIEL PARKER,                                 )
                                                )
               Plaintiff,                       )
                                                )    No. 21-cv-04630
       v.                                       )
                                                )    Honorable Andrea R. Wood, District Judge
CITY OF CHICAGO;                                )
CARLOS CANNON (Star # 12214);                   )    Honorable Jeffrey Cole, Magistrate Judge
JORGE GARCIA (Star # 14895);                    )
JOHN SLOWINSKI (Star # 1951);                   )
JIMMY PIEDRASANTA (Star # 12884);               )
HARACE MINNIEFIELD, JR.;                        )
UNKNOWN OFFICER 1,                              )
                                                )
               Defendants.                      )

                                  JOINT STATUS REPORT

       Pursuant to this Court’s order (dkt. 30), Plaintiff Gabriel Parker, Defendant City of

Chicago, and Defendants Cannon, Garcia, Slowinski, Piedrasanta, and Minniefield, Jr.

(collectively, the “Individual Defendants) submit this Joint Status Report.

       1.      Status of discovery. There are no current or anticipated discovery disputes.

Plaintiff and the Individual Defendants have served initial Rule 26(a) Disclosures. The Individual

Defendants served interrogatories and document requests; Plaintiff has responded. The Individual

Defendants also made an initial document production. The parties have been cooperating on a

HIPAA protective order in order to facilitate additional discovery.

       2.      Prospects for settlement. The parties have agreed on a settlement in this matter

and are finalizing a settlement agreement. No referral to a magistrate judge is requested. The

parties anticipate having a finalized settlement agreement within 45 days and will submit a

dismissal order upon execution.
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       3.      Telephonic status hearing. The parties do not request a telephonic status hearing.

Dated: July 12, 2022


 Respectfully submitted,                           Respectfully submitted,

   /s/ Karl Leonard           .                     /s/ Edward D. Mizera                 .
 Karl Leonard                                      Francis P. Cuisinier (ARDC # 0553328)
 LOEVY & LOEVY                                     Edward D. Mizera (ARDC # 6313516)
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 Attorney for Plaintiff                            Edward.mizera@ruberry-law.com

                                                   Attorneys for Individual Defendants


 Respectfully submitted,

  /s/ Vincent Rizzo                  .
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 Attorney for Defendant City of Chicago




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                                 CERTIFICATE OF SERVICE

         I certify that on July 12, 2022, I caused the foregoing JOINT STATUS REPORT to be
electronically filed with the Clerk of the United States District Court for the Northern District of
Illinois via the CM/ECF system, which will effect service on all counsel of record.

                                                         /s/ Karl Leonard             .
